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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                 Plaintiff,             Case No. CR06-26-RSL

10          v.                                            PROPOSED FINDINGS OF FACT
                                                          AND DETERMINATION AS TO
11 MERHAWI HAGOS HAILE,                                   ALLEGED VIOLATIONS OF
                                                          SUPERVISED RELEASE
12                                 Defendant.

13                                              INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on November

15 28, 2011. The defendant appeared pursuant to a warrant issued in this case. The United States

16 was represented by Andrew Friedman, and defendant was represented by Lee A. Covell. Also

17 present was U.S. Probation Officer Leona Nguyen. The proceedings were digitally recorded.

18                                  SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on September 6, 2006, by the Honorable Robert S. Lasnik for

20 Conspiracy to Distribute Cocaine Base. He received 84 months of detention and 5 years of

21 supervised release. On April 8, 2008, his sentence was reduced to 68 months. Additionally, 5

22 years of supervised release was imposed with all the standard conditions and the following

23 special conditions: 1) drug aftercare; 2) search: 3) financial disclosure; 4) no association with any

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
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 1 known gang members; 5) mental health aftercare to include MRT; and 6) if deported, the

 2 defendant shall not enter the United States unless granted permission.

 3                                PRESENTLY ALLEGED VIOLATIONS

 4       In a petition dated August 11, 1011, U.S. Probation Officer Jennifer Tien alleged that

 5 defendant violated the following conditions of supervised release:

 6       1.       Failing to work at a lawful occupation since April 2011, in violation of standard

 7                condition number 5.

 8       2.       Failing to report a change in residence 10 days prior to any change, in violation of

 9                standard condition number 6.

10       3.        Failing to report a change in employment 10 days prior to any change, in violation

11                of standard condition number 6.

12       4.       Failing to report to his probation officer on June 8, 2011, and June 9, 2011, in

13                violation of standard condition number 2.

14       5.       Failing to report to his probation officer on July 29, 2011, in violation of standard

15                condition number 2.

16       6.       Failing to provide a valid urine sample as instructed by stalling, on August 3, 2011,

17                in violation of the special condition of drug testing.

18                         FINDINGS FOLLOWING EVIDENTIARY HEARING

19       Defendant admitted to violation number 3 and waived any hearing as to whether it occurred.

20 Defendant denied violation allegations 1, 2, 4, 5, and 6. The matter is set for an evidentiary and

21 disposition hearing on December 13, 2011 at 8:30 a.m. before District Judge Robert S. Lasnik

22                         RECOMMENDED FINDINGS AND CONCLUSIONS

         Based upon the foregoing, I recommend the court find that defendant has violated the
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
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 1 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 2       DATED this 28th day of November, 2011.

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                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE - 3
